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                                UNITED STATES DISTRICT COURT
                                   DISTRICT OF NEW JERSEY


  MAXLITE. INC., a New Jersey Corporation,
  f/kaSK AMERICA, [NC.. d/b/a MAXLITE,

                     PlaznrW,                                   Civil Action No. 15-1116

          v.
                                                                        ORDER
  ATG ELECTRONICS, INC., JAMES D.
  STEEDLY, SOPHIA C. GALLEHER, and
  MATTHEW KIM,

                     Defendants.


  John Michael Vazguez. U.S.D.J.

         This matter comes before the Court on Defendant ATG Electronics. Incorporated’s

 (“ATG”) supplemental motion to dismiss for lack of personal jurisdiction or, alternatively, to

 transfer. D.E. 138. Plaintiff MixLite. Incorporated (“MaxLite”) opposed the motion (D.E. 141)

 and ATG filed a reply (D.E. 145). The Court reviewed all of the arguments made in support or in

 opposition to the motion, and considered the motion without oral argument pursuant to L. Civ. R.

 78.1(b). For the reasons set forth in the Court’s Opinion accompanying this Order, and for good

 cause shown,

         IT IS on the 24th day of June, 2016

         ORDERED that ATG’s Motion to Dismiss for Lack of Personal Jurisdiction is DENIED;

 and it is further

         ORDERED that ATG’s Motion to Transfer Venue is DENIED.



                                               John Michael VazquV..D.J.
